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             1   Jessica B. Coffield (SBN 252916)
                 jbcoffield@ww.law
             2   WOLFE & WYMAN LLP
                 980 9th Street, Suite 1750
             3   Sacramento, California 95814
                 Telephone: (949) 475-9200
             4   Facsimile: (949) 475-9203

             5   Attorneys for Defendant
                 CENLAR FSB
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             8                                 UNITED STATES DISTRICT COURT

             9                                EASTERN DISTRICT OF CALIFORNIA

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            11   THOMAS M. HOGAN and RU HOGAN,                     CASE NO.: 2:22-CV-00039-WBS-AC

            12                  Plaintiffs,                        [The Honorable William B. Shubb]

            13   v.                                                NOTICE OF CHANGE OF HANDLING
                                                                   ATTORNEY
            14   CENLAR LOAN ADMINISTRATION AND
                 REPORTING DBA CENLAR FSB;
            15   CITIBANK, CITIBANK, NA, CITIGROUP;
                 DOES 1-20, inclusive,                             Action Filed:             September 27, 2021
            16
                                Defendants.
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            19   TO THE COURT, ALL PARTIES AND/OR THEIR ATTORNEYS OF RECORD:

            20            PLEASE TAKE NOTICE that, effective immediately, the handling attorneys on this matter

            21   for WOLFE & WYMAN LLP will be Jessica B. Coffield in our Sacramento, California office, as

            22   stated above. Jessica Coffield shall also be designated as the counsel for service in this matter.

            23            PLEASE TAKE FURTHER NOTICE that James J. Ramos, previously an attorney on this

            24   action, is no longer with the firm of Wolfe & Wyman LLP. Therefore, please remove James J. Ramos

            25   from your service lists, and direct all future pleadings, correspondence and any inquiries concerning

            26   Defendant CENLAR FSB and/or this matter to Jessica B. Coffield in our Irvine, California office, as

            27   follows:

            28   ///

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                   Case 2:22-cv-00039-WBS-AC Document 54 Filed 03/23/23 Page 2 of 2


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                                               Jessica B. Coffield (SBN 274122)
             2                                         jbcoffield@ww.law
                                                   WOLFE & WYMAN LLP
             3                                      980 9th Street, Suite 1750
                                                  Sacramento, California 95814
             4                                     Telephone: (949) 475-9200
                                                   Facsimile: (949) 475-9203
             5                           Email; jbcoffield@ww.law; vaarroyo@ww.law
             6

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             9   DATED: March 23, 2023                  WOLFE & WYMAN LLP
            10

            11                                          By:     /s/ Jessica B. Coffield
                                                             JESSICA B. COFFIELD
            12                                          Attorneys for Defendant
                                                        CENLAR FSB
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